






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00162-CR


NO. 03-03-00163-CR


NO. 03-03-00164-CR






In re Leon Justice




Francisco Mendoza, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NOS. 992767, 992768 &amp; 992781, HONORABLE JON N. WISSER, JUDGE PRESIDING






O R D E R   T O   S H O W   C A U S E


PER CURIAM

This is a contempt proceeding ancillary to Francisco Mendoza's appeals from
judgments of conviction for aggravated sexual assault and indecency with a child.  The subject of
this proceeding is Mr. Leon Justice, court reporter for the 299th District Court.

The reporter's record was originally due to be filed on June 30, 2003.  After he was
notified that the record was overdue, Justice informed the Court that the record would be completed
by September 15, 2003.  On August 15, 2003, this Court ordered Justice to tender the record for
filing in this cause no later than September 15, 2003.  He failed to file the record as ordered, and it
still has not been received.

The said Leon Justice is hereby ordered to appear in person before this Court on the
3rd day of December, 2003, at 8:30 o'clock a.m., in the courtroom of this Court, located in the Price
Daniel, Sr. Building, 209 West 14th Street, City of Austin, Travis County, Texas, then and there to
show cause why he should not be held in contempt and sanctions imposed for his failure to obey the
August 15, 2003, order of this Court.  This order to show cause will be withdrawn and the said Leon
Justice will be relieved of his obligation to appear before this Court as above ordered if the Clerk of
this Court receives the reporter's record by November 28, 2003.

	It is ordered October 28, 2003.


Before Chief Justice Law, Justices B. A. Smith and Patterson

Do Not Publish


